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                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

    UNITED STATES OF AMERICA,

                            Plaintiff,
        v.                                                      Case No: 04-80370-17
                                                                Hon. John Corbett O’Meara
    ALMIRE ALI-SADEK BERRO,

                        Defendant.
    _________________________________/


                      DEFENDANT’S SENTENCING MEMORANDUM


                                     STATEMENT OF FACTS

             On June 1, 2001, Mr. Berro, at age 22, signed his name to a mortgage application

    that did not accurately reflect his income in an effort to obtain a mortgage for the

    purchase of a home in Dearborn, Michigan. This is the only allegation made against Mr.

    Berro in the First Superseding Indictment. There is no restitution in this case because

    there was no loss to the financial institution. Once the mortgage was obtained, payments

    were made in a satisfactory fashion. For this one criminal act, to which he pled

    guilty, he will have a criminal record for the rest of his life.


                                     SENTENCING FACTORS

             Mr. Berro’s sentencing guideline range is 10 to 16 months. There were no

    aggravating factors. The only reason Mr. Berro’s guideline range is beyond probationary

    consideration is the amount of the mortgage received for the purchase of the home. The

    Court is aware that pursuant to United States v. Booker 125 S Ct 738 (2005). The

    United States Sentencing Guidelines are now advisory. This requires this honorable
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    court to consider this guideline range in fashioning and individualized sentence when

    considered with other statutory factors found in 18 USC 3553(a).

           Subsection (a) of 18 USC 3553(a) states:

                    (a) Factors to be considered in imposing a sentence.--The court shall
    impose a sentence sufficient, but not greater than necessary, to comply with the
    purposes set forth in paragraph (2) of this subsection. The court, in determining the
    particular sentence to be imposed, shall consider--

    (1) the nature and circumstances of the offense and the history and characteristics of the
    defendant;

           Mr. Berro’s crime was part of many crimes committed by the principles in this

    case. Unfortunately these principles are the people closest to him, his family. His father,

    his mother, his uncles, his aunts, and his cousins. While Mr. Berro has stipulated in his

    Rule 11 Agreement that his actions were part of a scheme to defraud Mortgage Group

    Inc., his participation was not as a planner or organizer. His participation was

    as a son, and nephew. He did what was asked of him, even though he knew it was

    wrong. He never gained monetarily from his participation. In his mind, as a result of the

    culture in which he was raised, it would have been disrespectful to refuse. As a result the

    government has refused to recognize the true nature of his participation. He was not

    charged in this case, until his father and uncles refused to plead guilty. Then, rather than

    recognize his individual role in this case and his individual characteristics, he was linked

    to every other plea agreement without distinction. Although offered diversionary status,

    a reasonable and appropriate recognition of his role, the offer was conditioned upon his

    family pleading guilty. Ultimately, they did, but he was not given the diversion because

    of an artificial deadline. Mr. Berro admitted his guilt, and he will pay his debt to society.

    However, it is this counsel’s opinion that the government should be chastised by the

    court for its refusal to distinguish between the children’s role in this case, and their

    parents. The government’s arrogance in this respect only fuels the impression within the

    Arabic community that the government refuses to differentiate between those Middle
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    Eastern people who try and live within the bounds of society, and those who refuse to do

    so.

           Mr. Berro is a young man with aspirations. He has assimilated into American

    society by succeeding in education, gainful employment, citizenship, and fiscal

    Responsibility. During these trying times he earned a Masters Degree in Business

    Administration. He worked full time and attended school. He never involved himself in

    any other aspect of this case. Unfortunately, his family used him. This is

    something he will have to ponder throughout his lifetime. As indicated in his Presentence

    Report, Mr. Berro has been employed since a very young age. He has offered his

    services as a substitute teacher in the Dearborn School District and has volunteered his

    time to help his community.



    (2) the need for the sentence imposed--
    (A) to reflect the seriousness of the offense, to promote respect for the law, and to
    provide just punishment for the offense;
    (B) to afford adequate deterrence to criminal conduct;
    (C) to protect the public from further crimes of the defendant; and
    (D) to provide the defendant with needed educational or vocational training, medical
    care, or other correctional treatment in the most effective manner;

           Mr. Berro recognizes that he must be punished for his actions. Although there is

    no victim in this case because his mortgage was paid in a timely fashion and no loss was

    sustained, he knows now that his role played an important part in the other crimes

    committed by his family. This is a far cry from having prior knowledge of the other

    activities alleged in the indictment. He was never been involved in any other criminal

    activity, and never sought to question his parent’s activities. He does not disrespect the

    law, and has never exhibited antisocial behavior. To the contrary, Mr. Berro has always

    tried to make progress through legitimate employment and educational opportunities.

    Therefore, it cannot be said that there is a need to protect society from Mr. Berro.

    However some deterrence is necessary. In this respect, we encourage the court to

    consider that regardless of what sentence the court imposes, the fact that Mr. Berro will

    now have a criminal record, will follow him forever. Currently, Mr. Berro is trying to
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    obtain gainful employment after earning his Masters Degree. The disclosure of his crime

    has substantially affected his ability to achieve his goals. He has already been denied

    many opportunities. Therefore, the lesson and effect of deterrence has begun and will

    continue throughout his lifetime. Under these circumstances a just punishment would be

    to restrict Mr. Berro’s liberty through alternatives to incarceration.


    (3) the kinds of sentences available;

           The court, in light of Booker and the cases that have followed, possesses the

    discretion and creativity to fashion a sentence. From straight probation, to home

    confinement, to a split sentence, to incarceration, or a combination of these choices. The

    only criteria is that the sentence be “sufficient but not greater than necessary to comply

    with the purposes of 18 USC 3553(a)(2).” United States v Foreman, infra. Our Sixth

    Circuit has provided great latitude. Although it has been said that the guideline range is

    “presumptively reasonable”; United States v. Leonard Williams 436 F 3d 706 (6th Cir, Jan

    31, 2006), Judge Martin disagreed in United States v. Foreman, 436 F3rd 638 (6th Cir.

    Feb 8, 2006), where he addressed the “presumption of reasonableness”:

           “although this statement seems to imply some sort of elevated stature
           to the Guidelines, it is in fact rather unimportant. Williams does not mean
           that a sentence outside of the guidelines – either higher or lower—is
           presumptively unreasonable; it is not……. It must be sufficient but not greater
           than necessary to comply with the purposes of 18 USC 3553(a)(2).
           “Reasonableness” is an appellate standard of review in judging whether a District
           Court has accomplished the task.”

    Many Sixth Circuit cases have determined that a Guidelines sentence is not per se

    “reasonable” United States v. Webb 403 F3rd 373 (6th Cir, 2005); United States v.

    Richardson 437 F3rd 350 (6th Cir. Feb 13, 2006); United States v. Daniel Morris (448

    F3rd 929 (6th Cir, May 19, 2006).

           The predominant characteristic of all appellate decisions is the necessity of the

    District Judge to consider all of the 3353(a) factors, and articulate the reasons for the

    imposition of sentence.

           Of special instructive significance is United States v. Collington 461 F3r 805 (6th

    Cir. August 31, 2006), where Mr. Collington’s Guideline range was 188 to 235 month.
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    The following is an excerpt of the opinion, in part:

           Collington pled guilty to possession of over fifty grams of crack cocaine with the
           intent to distribute, being a felon in possession of a firearm, and unlawful
           possession of a machine gun,. The plea agreement anticipated that offense level
           would be thirty-three and his criminal history to be a III, yielding an advisory
           guidelines range of 168 to 220 months. Upon review of the presentence report,
           the district court decided that Collington’s offense level was thirty-three and his
           criminal history was a IV, resulting in an advisory guidelines range of 188 to 235
           months.

                   At Collington’s sentencing hearing, the district court undertook what it
           described as a “three-step process.” The first step was to calculate the
           appropriate advisory guideline range, which the district court did with no objection
           from either side to the resulting range of 188 to 235 months. The district court
           then proceeded to the second and third steps of its analysis: determining whether
           a variance from the guidelines range would be appropriate in this case and
           considering the 3553 factors and the guidelines range to determine what sentence
           would be a “reasonable sentencing option [ ] for this Defendant.”

                    To aid the court in its decision-making process, it heard from Collington's
           counsel and then questioned Collington regarding his personal history and the
           severity of the crimes in question. The court then decided to vary downward from
           the sentencing guidelines and impose a 120 month sentence with the full five-
           year period of supervised release. The court felt that a downward variance was
           justified given Collington's personal history, his criminal history, and his age. The
           government now appeals that sentence as being unreasonably low.

           In reviewing the reasonableness of the court’s sentence upon appeal by the

    government, the court upheld the sentence indicating that:

           We review sentences for reasonableness. United States v. Webb, 403 F.3d 373,
           383 (6th Cir.2005). At the outset, it is worth noting that the district court in this
           case and the government in its brief to this Court confused the statutory
           mandate with the appellate standard of review. “[A] district court's mandate is to
           impose ‘a sentence sufficient, but not greater than necessary, to comply with the
           purposes' of section 3553(a)(2). Reasonableness is the appellate standard of
           review in judging whether a district court has accomplished its task.” United
           States v. Foreman, 436 F.3d 638, 644 n. 1 (6th Cir.2006) (emphasis in original).

           In United States v. Booker, 543 U.S. 220, 125 S.Ct. 738, 160 L.Ed.2d 621
           (2005), the Supreme Court invalidated the mandatory use of the Sentencing
           Guidelines and held they are now “effectively advisory.” We have held that
           “[o]nce the appropriate advisory Guideline range is calculated, the district court
           throws this ingredient into the section 3553(a) mix.” United States v. McBride,
           434 F.3d 470, 476 (6th Cir.2006). Section 3553(a) instructs a district court to
           impose “a sentence sufficient, but not greater than necessary, to comply with the
           purposes set forth in [section 3553(a)(2) ].” 18 U.S.C. § 3553(a). The
           3553(a)(2) factors which are to be considered when sentencing are the
           seriousness of the offense, deterrence of future crimes, protection of the public
           from future crimes of the defendant, and providing the defendant with needed
           training or correctional treatment. FN1 18 U.S.C. § 3553(a)(2).
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          FN1. The district court, in sentencing, should also consider the nature
          and circumstances of the offense, the characteristics of the defendant,
          the kinds of sentences available, the sentencing guidelines range, policy
          statements from the Sentencing Commission, the need to avoid
          sentencing disparities, and the need to provide restitution to the victims.
          See 18 U.S.C. § 3552(a)(1), (3)-(7).

         Because the Sentencing Guidelines are now advisory, a district court is permitted
         to vary from those guidelines in order to impose a sentence which fits the
         mandate of section 3553(a). See McBride, 434 F.3d at 476. Although we have
         held that a sentence within the guidelines is presumptively reasonable, see
         United States v. Williams, 436 F.3d 706, 708 (6th Cir.2006), this says nothing
         about sentences outside the advisory range. As we said in Foreman, “ Williams
         does not mean that a sentence outside of the Guidelines range-either higher or
         lower-is presumptively un reasonable. It is not.” 436 F.3d at 644. Rather, our
         reasonableness review is in light of the 3553(a) factors which the district court
         felt justified such a variance.

         [We have now split our reasonableness review into two inquiries: procedural
         reasonableness and substantive reasonableness. A sentence may be procedurally
         unreasonable if “the district judge fails to ‘consider’ the applicable Guidelines
         range or neglects to ‘consider’ the other factors listed in 18 U.S.C. § 3553(a),
         and instead simply selects what the judge deems an appropriate sentence
         without such required consideration.” Webb, 403 F.3d at 383. A sentence may be
         considered substantively unreasonable when the district court “select[s] the
         sentence arbitrarily, bas[es] the sentence on impermissible factors, fail[s] to
         consider pertinent § 3553(a) factors or giv[es] an unreasonable amount of
         weight to any pertinent factor.” Id. at 385. It is in this light that we review
         Collington’s sentence, specifically the district court's downward variance from the
         advisory guidelines range.

         [The district court, in this case, varied downward from the guideline range of 188
         to 235 months to give Collington a sentence of 120 months.FN2 The district court
         explained at the sentencing hearing that such a variance was justified in this case
         because of a number of factors which made Collington’s case an outlier and
         which the guidelines did not account for. The district court found that, despite
         Collington’s criminal history being at a IV, Collington “has never been in custody
         for any substantial period of time,” having only been imprisoned for seven
         months before this crime. The district court also noted that the criminal history
         did not reflect that this incident was the first time that this quantity of drugs and
         guns had been found in Collington's possession.

          FN2. The dissent notes that this variance is 36% below the low end of
          the guidelines range. Dissent Opn. at 811, 817. Such analysis has no
          place in a review for reasonableness. There is no mathematical
          percentage or formula that defines what reasonableness is. Appellate
          review simply can not be reduced to such cold calculations. It is those
          very calculations that Booker and its progeny attempted to remove from
          the federal sentencing process.

         As we have explained before, “[p]rior to Booker, sentences outside of the
         Guideline range were severely limited; now, ‘with greater latitude’ a ‘district court
         need only consider [the Guideline range] along with its analysis of the section
         3553(a) factors.’ ” United States v. Martin, 438 F.3d 621, 641 (6th Cir.2006)
         (Martin, J., concurring) (quoting McBride, 434 F.3d at 476). Additionally,
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           [i]n appropriate cases ··· a district court may conclude that the criminal history
           category overstates the severity of the defendant's criminal history or *809 that
           a lower sentence would still comply with and serve the mandates of section
           3553(a). That is, a district court may look beneath the specific criminal history
           score and advisory guideline calculation to reach the appropriate sentence. Id. at
           642.



                                          CONCLUSION

           For the reason set forth herein Mr. Berro respectfully requests this court to

    consider imposing a one-day term of incarceration suspended and supervised release. To

    do so would be a minimal deviation from the advisory guideline range. He is not a threat

    to society, his criminal conviction will act as a necessary deterrent. We believe such a

    sentence will reflect the seriousness of the offense, promote respect for the law and

    result in a just punishment. In this case the government refused to view Mr. Berro as an

    individual. They overzealously persecuted him as though he were a contaminated

    offspring. In this respect counsel for Mr. Berro is embarrassed of his government’s

    current treatment of the Arabic community. As a Dearborn practitioner counsel has a

    unique perspective to observe the overreaching power of the government against its

    citizens in this area. Therefore it is with great respect for this Court that Mr. Berro asks

    the court to only consider the seriousness of his involvement, his personal achievements,

    his personal characteristics, and the impact this conviction will forever have on his life.


                                                   Respectfully submitted,


                                                   /s/ Nicholas J. Vendittelli
                                                   _______________________________
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